                       UNITED STATES DISTRICT COURT FOR
                      WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                                     3:20-cv-21-MOC-DCK


PHILIPS MEDICAL SYSTEMS
NEDERLAND B.V.; PHILIPS NORTH
AMERICA LLC; and PHILIPS INDIA
LTD.,

                                Plaintiffs,
       v.

TEC HOLDINGS, INC., F/K/A                                       FINAL JUDGMENT
TRANSTATE EQUIPMENT
COMPANY, INC., TRANSTATE
EQUIPMENT COMPANY, INC.,
F/K/A TRANSTATE HOLDINGS,
INC., and ROBERT A. (“ANDY”)
WHEELER, individually and in his capacity
as executor and personal representative of
the Estate of DANIEL WHEELER,
                                 Defendants.



       This action came on regularly for a jury trial beginning on April 3, 2023, and ending on

April 28, 2023, in the Charlotte Division of the United States District Court for the Western

District of North Carolina between Plaintiffs/Counterclaim Defendants Philips Medical Systems

Nederland B.V., Philips North America LLC, and Philips India Ltd. (collectively, “Plaintiffs” or

“Philips”) and Defendants/Counterclaim Plaintiffs Transtate Equipment Company, Inc.

(“Transtate”), TEC Holdings, Inc. (“TEC”), and Robert A. Wheeler, individually and in his

capacity as executor and personal representative of the Estate of Daniel Wheeler (“Andy

Wheeler”) (collectively “Defendants”).

       A jury of 12 persons was regularly impaneled and sworn. Testimony and other evidence

was presented by the parties and the jury was instructed on the law by the Court. The jury

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   Case 3:20-cv-00021-MOC-DCK                 Document 854    Filed 09/25/24      Page 1 of 5
deliberated and thereafter on April 28, 2023, returned in the court with its verdict (Doc. No.

776).

        After the jury’s verdict, on May 22, 2023, Philips gave notice pursuant to 17 U.S.C. §

1203(c)(2), subject to a reservation of rights, that as to Philips’ claim for violation of the Digital

Millennium Copyright Act (“DMCA”), Philips elected to recover its actual damages and

Defendants’ profits, as determined by the jury (i.e., $512,096 in actual damages plus

$3,656,034.90 in Defendants’ profits), plus any applicable interest allowed by law. See (Doc.

No. 784).

        Also on May 22, 2023, Defendants filed a motion requesting that the Court find that

certain conduct by Philips, found by the jury as a factual matter, constitutes unfair and deceptive

trade practices as a matter of law under the North Carolina Unfair and Deceptive Trade Practices

Act, N.C.G.S. § 75-1.1, et seq. (“NCUDTPA”). See (Doc. No. 783). Specifically, the jury found

that Philips engaged in the following conduct and that such conduct proximately harmed

Defendants:

        Philips refused to provide documents, programs, or information necessary to
        perform repair and maintenance on systems, in a timely or unhindered manner, to
        [Defendants], so that they could properly service Allura and Azurion cath labs
        and/or CT systems. See Dkt. 776 at 5.

Defendants’ motion also (1) requested that the jury’s award to Defendants of $848,348 in

damages be trebled under N.C.G.S. § 75-16.1, and (2) sought an order awarding pre- and post-

judgment interest upon entry of judgment in this case. See (Doc. No. 783). Philips opposed

Defendants’ motion. See (Doc. No. 787).

        The Court subsequently entered an Order finding that Philips’ conduct, as found by the

jury, constitutes an unfair and deceptive trade practice in violation of N.C.G.S. § 75-1.1, and




                                                   2
   Case 3:20-cv-00021-MOC-DCK               Document 854         Filed 09/25/24       Page 2 of 5
trebled damages under N.C.G.S. §75-16.1, for a total damages award to Defendants of

$2,545,044. See (Doc. No. 828).

       On June 14, 2023, Philips filed a motion seeking an award of pre- and post-judgment

interest, based on the jury’s verdict awarding Philips $512,096.00 in actual damages for

Defendants’ violations of the Computer Fraud & Abuse Act (“CFAA”) and the DMCA, and

$3,656,034.90 in Defendants’ profits for Defendants’ violations of the DMCA. See (Doc. No.

807). Defendants opposed Philips’ motion as to the request for prejudgment interest, but not

post-judgment interest. See (Doc. No. 811).

       The Court subsequently granted Philips’ motion as to post-judgment interest but denied

the motion as to prejudgment interest. See (Doc. No. 824).

       On February 7, 2024, Defendants filed a renewed motion for pre- and post-judgment

interest upon entry of judgment in this case. The Court granted this motion on August 27, 2024.

(Doc. No. 838).

       NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED as follows:

       1.      That the Clerk shall enter final judgment as follows:

               a.     That final judgment shall be entered in favor of Philips and against

               Defendants for Defendants’ violations of the CFAA and DMCA;

               b.     That Defendants Transtate, TEC and Andy Wheeler are liable to and shall

               pay Philips $512,096 in actual damages based on the Court’s finding they violated

               the CFAA and DMCA, along with post-judgment interest at the legal rate

               according to statute;




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   Case 3:20-cv-00021-MOC-DCK             Document 854        Filed 09/25/24     Page 3 of 5
               c.      That Defendants Transtate, TEC and Andy Wheeler are liable to and shall

               pay Philips $3,656,034.90 in Defendants’ profits based on their violations of the

               DMCA, along with post-judgment interest at the legal rate according to statute;

               d.      That final judgment shall be entered in favor of Defendants and against

               Philips for Philips’ violations of the NCUDTPA;

               e.      That Plaintiffs Philips Medical Systems Nederland B.V., Philips North

               America LLC, and Philips India Ltd. are liable to and shall pay Defendants

               $2,545,044 in damages, as trebled by the Court, based on their violations of the

               NCUDTPA, plus pre-judgment interest of $398,281.95 as of February 7, 2024 (and

               shall continue at $185.94 per day until the entry of final judgment), along with post-

               judgment interest at the legal rate according to statute.

       2.      Post-trial motions pursuant to Rules 50 and 59 shall be due 28 days after entry of

this final judgment. Pursuant to an earlier stipulation of the parties (Doc. No. 808), Philips and

Defendants shall each file a single opening brief of no more than 25 pages to address both Rule

50 and 59 motions collectively; a single response brief of no more than 25 pages to address the

opposing side’s Rule 50/59 motions; and a single reply brief of no more than 25 pages.

       3.      Consistent with the parties’ stipulation and this Court’s earlier ruling (Doc. No.

810), the deadline for filing post-trial motions for attorneys’ fees shall be no later than 30 days

after the Court rules on post-trial motions filed pursuant to Rules 50 and 59.

       4.      Consistent with the parties’ stipulation and this Court’s earlier ruling (Doc. No.

810), the deadline for filing any motions for permanent injunctive relief shall be no later than 30

days after the Court rules on post-trial motions filed pursuant to Rules 50 and 59.




                                                 4
   Case 3:20-cv-00021-MOC-DCK              Document 854         Filed 09/25/24        Page 4 of 5
       5.       The amount of costs shall be determined by the filing of a cost bill and any related

proceedings. Consistent with Local Rule 54.1, the deadline for filing any bill of costs shall be no

later than 60 days after the entry of this final judgment.

       Finally, the Clerk’s Amended Judgment (Doc. No. 853) entered on September 24,

       2024 is HEREBY VACATED, and this FINAL JUDGMENT shall be entered in its

       place.

                IT IS SO ORDERED.

                                    Signed: September 25, 2024




                                                   5
   Case 3:20-cv-00021-MOC-DCK               Document 854         Filed 09/25/24    Page 5 of 5
